 Case 1:18-cv-00069-PLM-PJG ECF No. 8 filed 03/12/18 PageID.221 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

                                                      )
EDWARD W. REYNOLDS, et al.,                           )
                                                      )
               Plaintiffs,                            )
                                                      )
       v.                                             )      Case No. 1:18-cv-00069-PLM-PJG
                                                      )
GREG TALBERG, et al.,                                 )      Hon. Paul L. Maloney
                                                      )
               Defendants,                            )      ORAL ARGUMENT
                                                      )      REQUESTED
STAND WITH TRANS, a Michigan                          )
Corporation, and WILLIAMSTON HIGH                     )
SCHOOL GAY-STRAIGHT ALLIANCE,                         )
an unincorporated association,                        )
                                                      )
               Proposed Defendant-Intervenors.        )
                                                      )


          STAND WITH TRANS AND WILLIAMSTON HIGH SCHOOL
    GAY-STRAIGHT ALLIANCE’S MOTION TO INTERVENE AS DEFENDANTS
                   PURSUANT TO FED. R. CIV. P. 24(b)

       Stand with Trans and the Williamston High School Gay-Straight Alliance (together,

“Movants”), through their undersigned attorneys, respectfully submit their Motion to Intervene

as Defendants Pursuant to Fed. R. Civ. P. 24(b) (the “Motion”). In support of this Motion,

Movants respectfully refer the Court to the accompanying Brief in Support.

       Pursuant to the Western District of Michigan Local Rule 7.1(d), counsel for Movants

contacted counsel for Plaintiffs and for the existing Defendants, to request concurrence in the

relief requested in this Motion. Defendants concur in the relief requested. However, Plaintiffs’

counsel did not concur, thus necessitating the filing of this Motion.
 Case 1:18-cv-00069-PLM-PJG ECF No. 8 filed 03/12/18 PageID.222 Page 2 of 2



       WHEREFORE, Movants respectfully request that this Honorable Court grant their

Motion and permit them to intervene in this case as defendants.


                                     Respectfully submitted,

Date: March 12, 2018                 Jay D. Kaplan (P38197)
                                     Daniel S. Korobkin (P72842)
                                     Michael J. Steinberg (P43085)
                                     American Civil Liberties Union Fund of Michigan
                                     2966 Woodward Ave.
                                     Detroit, MI 48201
                                     (313) 578-6812
                                     jkaplan@aclumich.org
                                     dkorobkin@aclumich.org
                                     msteinberg@aclumich.org

                                     John A. Knight*
                                     American Civil Liberties Union Foundation
                                     150 North Michigan Avenue
                                     Suite 600
                                     Chicago, IL 60601
                                     (312) 201-9740
                                     jaknight@aclu.org

                                     Shayna Medley-Warsoff*
                                     American Civil Liberties Union Foundation
                                     125 Broad St., 18th Floor
                                     New York, NY 10004
                                     (212) 549-2500
                                     smedley@aclu.org

                                     /s/ Deborah Kovsky-Apap
                                     Deborah Kovsky-Apap (P68258)
                                     Matthew Lund (P48632)
                                     Pepper Hamilton LLP
                                     4000 Town Center
                                     Suite 1800
                                     Southfield, MI 48075
                                     (248) 359-7300
                                     kovskyd@pepperlaw.com
                                     lundm@pepperlaw.com

                                   * Applications for admission forthcoming

                                     Counsel for Proposed Defendant-Intervenors


                                              -2-
